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ZERVAS v. USAA

CASE NO. 2:18-€\/-0005 1

EXHIBIT A

Complaint, Bates NO. USAAOOOOO] - USAA()()OOOG

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Steven D. Grlerson

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wlLLiAM W. McGAHA, ESQ. D‘V‘SST',?PE‘Z>FF‘§§S§DA§CE
Nevada Bar #3234 '_°""'”""'""_”"'
SCHUETZE & McGAHA, P.C.
601 S. Rancho Drive, Suite C-20
Las Vegasl Nevada 89106
(702) 369-3225

 

 

 

Attorneys for Plaintiff
D|STR|CT COURT
CLARK COUNTY, NEVADA
El\/|lLY ZERVAS, CASE NO: A-17-765798-C
DEPT. NO: Department 24
P|aintiff,
vs.

USAA GENERAL lNDEMNlTY

COl\/lPANY, a foreign corporation doing
business in Nevada, DOES l through X
)a(l;(d ROE CORPORAT|ONS X| through

 

Defendants.

 

 

CQMPLA|NT

P|aintiff, EM|LY ZERVAS, by and through his attorney, W|LL|AM W. McGAHA, ESQ.
ofthe law firm of SCHUETZE & MCGAHA, P.C., complains of Defendants, and each of them,
and alleges as follows:

1._
GENERAL ALL§GAI|ONS

1. At all times mentioned herein, Plaintiff, EM|LY ZERVAS (hereinafter Emily), was
a resident of the County of Clark, State of Nevada.
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2. That at all time mentioned herein, upon information and belief, Defendant, USAA
GENERAL lNDEMNlTY COMPANY was and is a foreign corporation and is duly licensed to
do business and is engaged in the business of selling insurancel in the County of Clark, State
of Nevada.

3. That at all the facts and circumstances that give rise to the subject lawsuit
occurred in Clark County, Nevada.

4. That the identities of the Defendant, DOES 1 through X and ROES Xl and XX,
are unknown at this time and may be individuals, partnerships, companies, corporations, or
other entity. Plaintiff alleges that each Defendant designated herein as DOE and ROE are
responsible in some manner for the damages alleged herein. Therefore, Plaintiff requests
leave of the Court to amend this Complaint to name the Defendants speciHcal|y when their
true identities become known.

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F| ST CAUSE OF AC |O DECLARAT RY R LlEF

5. Plaintiff repeats and realleges each and every allegation contained in
Paragraphs 1 through 4 herein, and incorporates the same by reference as though fully set
forth herein.

6. On or about August 3, 2017, Plaintiff, Emily, was involved in a serious motor
vehicle accident as a result of the negligence of an uninsured motorist. At the time of the
accident, Emily was a passenger on a motorcycle driven by Jason Masterman. The accident
took place in Las Vegas, Nevada.

7.' As a direct and proximate result of the accident, Plaintiff Emilyl suffered
serious physical injuries.

` 8. That the tortfeasor driver involved in the accident fled the scene of the accident,
and that driver was neveridentifled and no liability insurance ever identified to afford coverage
to the loss, thereby making this case an uninsured motorist claim.

9. As further, direct and proximate result of the accident, Plaintiff incurred

substantial expenses for medical care and treatment.
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10. As further direct and proximate result of the accident, Plaintiff, has suffered and
continues to suffer physical pain, disability, emotional distress, including, but not limited to,
intense physical and mental pain, anxietyl loss of sleep and depression, and wage loss, That
Plaintiff has suffered certain injuries and damages which are permanent and life long in nature.
Plaintiff has suffered a diminishment in earning capacity and has lost inco{me and likely will
continue to lose income as a result of the injuries suffered in the accident.

11. That Plaintiff’s medical expenses, and wage loss, and pain and suffering are
covered benefits under the contract of insurance with Defendant. That there is an offset to
damages under the policy with the Defendant USAA of $5,000 for medical payments
coverage.

12. At the time of the accident, Plaintiff was insured with USAA under policy number
0267 17 42G 7101 8 with uninsured motorist policy limits of $300,000.00 per person, per
accident ln addition to the USAA policyl there are other policies of uninsured motorist
coverage available to the Plaintiff for the August 3, 2017 loss. The additional policies which
afford coverage are through GE|CO policy 4420-46-22-95 with policy limits of $100,000 and
STATE FARl\/l |\/lUTUAL AUTOl\/lOB|LE |NSURANCE CO|V|PANY policy 085241428 with
policy limits of $100,000.

13. That Defendant, including DOES | through X and ROES Xl through XX, were and
are obligated to compensate Plaintiff for her injuries and damages she sustained in the above
mentioned accident by virtue of and consistent with the uninsured motorist coverages
identified.

14. That the combined policy limits ofthe three uninsured motorist policies identified
total $500,000. That the compensable injuries and damages to the Plaintiff, as defined under
the policies of UM coverage, are in excess of the combined $500,000 limits.

15. That USAA. Geico, and State Farm have all extended Ul\/| coverage for the
accident of August 3, 2017 and verified that the Plaintiff is an insured for the purposes of UlVl
coverage under each of the policies identified .

16. That in the accident in question, the Plaintiff was a fault free passenger and that

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therefore there are no comparative fault offsets to damages

17. That on or about November 14, 2017, USAA extended an offer of $180,000 to
the Plaintiff to settle her UlVl claim under the USAA policy as described herein.

18. USAA has represented that based upon the accumulated coverages, which total
$500,000, that USAA is entitled to write down it’s own coverage applicable to the accident to
$180,000. That by reducing the coverage available under the USAA policy, from confirmed
limits of $300,000 down to $180,000, USAA saves $120,000 at the expense of the Plaintiff.

18. That this coverage decision was made by USAA with the full understanding
that the damages of the Plaintiff exceed the combined policy limits of $500,000 as described
herein.

19. That the decision of USAA has no basis in and is contrary to the language and
terms of the contract of insurance '

20. That the decision of USAA to reduce actual coverage as it has done in this case
is contrary to public policy and law in the State of Nevada.

21. That pursuant to NRS 30.040, jurisdiction of this matter rests with this court.
That the Plaintiff is therefore asking this Court to adjudicate the rights of the parties herein
under the applicable contract of UM insurance.

22. That pursuant to the written contract which affords coverage to the Plaintiff, the
Defendant USAA is contractually obligated to extend the full amount of the policy limits, and
that no pro rata coverage write down is applicable as damages exceed the collective limits of
all the Ul\/l carriers.

23. That USAA is attempting to create a financial windfall for itself through it’s actions
in diminishing the coverage which was purchased and otherwise available to the Plaintiff.

24. As a further and direct proximate resu|t, Plaintiff was forced to retain an attorney
to prosecute the instant action, incurring attorney’s fees and costs and is therefore entitled to
same from USAA in prosecuting this action.

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__|_|_.
SECQND CAUSE OF ACT|ON (BREACH' OF CONIRACT)
25. That Defendant, through it’s actions, is refusing to tenderthe full policy benefits
even after concluding that the claim of the Plaintiff is in excess of the USAA policy limits and

the collective policy limits as set forth above, thereby breaching the contract for uninsured

reasonable, not based upon any policy |anguage, and in violation of the contract. The
appropriate policy limits and value of the uninsured motorist claim through USAA is $300,000.

26. That USAA has breached the terms of the contract of UM insurance, and that
the Plaintiff is entitled to the benefits. That by virtue of the injuries and damages suffered in
the accident described above, the damages of the Plaintiff exceed the value of the coverage.
That Plaintiff is therefore entitled to the policy limits.

27. That Plaintiff is furtherentitled to costs and attorney’s fees for having to bring this
action under these circumstances

28. That to the extent appropriate, Plaintiff will seek to amend her Complaint to
conform to discovery as necessary.

29. That as a direct and proximate result of Defendants’ wrongful conduct, Plaintiff,
has suffered and ,wi|l continue to suffer damages payable under the applicable uninsured
motoristpolicy, in an amount in excess FlFTEEN THOUSAND DOLLARS ($15,000.00) forthe
breach of contract claim.

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motorist coverage. That the policy benefits which were offered by Defendant were not ‘

 

 

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WHEREFORE, Plaintiff, expressly reserves the right to amend this Complaint at the time

of the trial to include all items of damage not yet ascertained, demands judgment against
Defendant, as follows:
1.

For Declaratory Judgment in her favor on the UM contract claim and that the

Court declare that Plaintiff is afforded the $300,000 coverage limits as set out in this Complaint;

2. For damages for the breach of the UM contract in the amount of $300,000;
3. For pre- and post-judgment interest as provided by law and contract;

4. Reasonable attorney's fees, costs of suit incurred herein, and interest; and
5. For suc 7 other and further relief as this Court deems proper.

DATED this h day of December , 2017,

 

 

601 S. Rancho Drive, Suite C-20
Las Vegas, Nevada 89106
Attorney for Plaintiff

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